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          IN THE UNITED STATES DISTRICT COURT FOR
            THE MIDDLE DISTRICT OF PENNSYLVANIA

JOAN PORT                          )            CIVIL ACTION-LAW
                                   )
                 Plaintiff         )             NO:
vs                                 )
                                   )
AMERICAN CREDIT &                  )                   COMPLAINT
COLLECTIONS, LLC D/B/A             )
ACC D/B/A ACC, LLC                 )
                                   )           ELECTRONICALLY FILED
                  Defendants       )


                               COMPLAINT

I.   INTRODUCTION

     1.    This is an action for damages brought by an

individual     consumer      for    Defendant          American    Credit   &

Collections, LLC d/b/a ACC d/b/a ACC, LLC violations of

the Fair Debt Collection Practices Act, 15 U.S.C. § 1692,

et   seq. (hereafter the “FDCPA”).                     The FDCPA prohibit

debt collectors from engaging in abusive, deceptive, and

unfair collection practices.

                   II. JURISDICTION AND VENUE

     2. Jurisdiction of this Court arises under 15 U.S.C.

§1692k(d) and 28 U.S.C. §§ 1331, 1337.


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    3.    Venue lies in this district pursuant to 28 U.S.C.

§ 1391(b).

                            III. PARTIES

    4. Plaintiff, Joan Port, is an adult individual

currently residing in Mayfield, Pennsylvania.

    5.     Defendant, American Credit & Collections, LLC

d/b/a ACC d/b/a ACC, LLC (at times “Defendant” and “ACC”)

is a Pennsylvania limited liability company, regularly

engaged    in    business      of    collecting       debts     in       this

Commonwealth with an address of 921 Oak Street, Scranton,

Pennsylvania 18508.

    6.     American Credit & Collections, LLC does business

as ACC and ACC, LLC.

    7.    The principal purpose of ACC is the collection of

debts    using   the   mails     and     telephone,      and   Defendant

regularly attempts to collect debts alleged to be due

another.

    8.     ACC   regularly      engages       in   the   collection       of

consumer debts using the mails and telephone alleged to

be due another.



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       9.      ACC is a “debt collector” as that term is

contemplated in the FDCPA,15 U.S.C. §1692a(6)and 1692j.

       10. Plaintiff is a “consumer” as defined by 15

U.S.C. §1692(a)3 of the FDCPA.

                         IV. FACTUAL ALLEGATIONS

       11.    On or about July 24, 2010, ACC began attempting

to collect an alleged debt from the Plaintiff which arose

out of        transactions which was incurred primarily for

personal, family or household purposes (“Debt”).

       12.    On or about July 24, 2010, ACC wrote and sent to

Plaintiff by U.S. mail a collection or “dunning” letter

(the        “7/24/10     Letter”)     which        attempted     to   coerce

Plaintiff into paying the alleged debt.                        (A true and

correct copy of the 7/24/10 Letter is attached hereto as

Exhibit “A” and is incorporated herein.

       13.      At all pertinent times hereto, the 7/24/10

Letter       was   the    only   written         communication    regarding

Acct#: 1675293 received by Plaintiff from Defendant.

       14.     The FDCPA requires a debt collector to notify

the consumer within five (5) days after the initial

communication in connection with the collection of any

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debt (unless the following information was contained in

the initial communication) a written notice containing

the following information:

         (1) the amount of the debt;

         (2) the name of the creditor to whom the

               debt is owed;

         (3) a statement that unless the consumer,

               within thirty days after receipt of the

               notice, disputes the validity of the

               debt, or any portion thereof, the debt

               will be assumed to be valid by the debt

               collector;

         (4) a      statement       that      if   the    consumer

               notifies the debt collector in writing

               within the thirty-day period that the

               debt,      or    any     portion     thereof,       is

               disputed, the debt collector will obtain

               verification of the debt or a copy of a

               judgment against the consumer and a copy

               of such verification or judgment will be


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                  mailed      to   the    consumer      by   the   debt

                  collector; and

             (5) a statement that, upon the consumer’s

                  written request within the thirty-day

                  period, the debt collector will provide

                  the consumer with the name and address

                  of the original creditor, if different

                  from the current creditor.

             15 U.S.C. § 1692g (emphasis added)

       15.    In violation of section 1692g(a) of the FDCPA,

the 7/24/10 Letter did not advise Plaintiff of her rights

to   notify     the    debt    collector         in   writing   within      the

thirty-day period that if she disputed the debt, or any

portion thereof, ACC would obtain verification of the

debt or a copy of a judgment against her and a copy of

such verification or judgment would be mailed to her by

ACC.

       16.    ACC failed to provide the statutorily required

notice within five (5) days of the initial communication

with Plaintiff in violation of Section 1692g of the



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FDCPA.

    17.    At all times pertinent hereto, Defendant was

acting    by    and   through     its     agents,     servants    and/or

employees, who were acting within the scope and course of

their employment, and under the direct supervision and

control of the Defendant herein.

    18.    At all times pertinent hereto, the conduct of

ACC as well as its agents, servants and/or employees, was

malicious, intentional, willful, reckless, negligent and

in wanton disregard for federal and state law and the

rights of the Plaintiff herein.

    19.    ACC knew or should have known that the Letter

and Calls violated the FDCPA.                 ACC could have taken the

steps necessary to bring the Letter within compliance

with the FDCPA, but neglected to do so and failed to

adequately review the Letter or monitor the calls to

ensure compliance with said laws.

    20.        As a result of ACC’s conduct, Plaintiff has

sustained actual damages, including, but not limited to,

injury to Plaintiff’s reputation, damage to Plaintiff’s

credit, out-of pocket expenses, physical, emotional and

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mental pain and anguish and pecuniary loss and Plaintiff

will continue to suffer same for an indefinite time in

the future, all to Plaintiff’s great detriment and loss.

                       COUNT I
          FAIR DEBT COLLECTION PRACTICES ACT
               15 U.S.C. § 1692, et seq.
                       JOAN PORT
                           v.
  AMERICAN CREDIT & COLLECTIONS, LLC, D/B/A ACC D/B/A
                       ACC, LLC


    21. Plaintiff incorporates the foregoing paragraphs

as though the same were set forth at length herein.

    22.   Defendant is a “debt collectors” as defined by

section 1692a(6) of the FDCPA.

    23.   Plaintiff is a “consumer” as defined by section

1692a(3) of the FDCPA.

    24. The 7/24/10 Letter is a “communication” relating

to a “debt” as defined by sections 1692a(2) and 1692a(5)

of the FDCPA.

    25.     ACC violated the FDCPA.                ACC’s violations

include, but may not limited to, violations of 15 U.S.C.

§1692g by failing to notify the Plaintiff that she had a

right to dispute the validity of the alleged debt, or any

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portion   thereof       and     that     Defendant        would     provide

verification     of    the     alleged        debt   if   the     Plaintiff

disputed the validity of the alleged debt or any portion

thereof and/or requested verification of the alleged debt

as required by section 1692g of the FDCPA.

    WHEREFORE,        Plaintiff        demands       judgment      against

Defendants for:

               (a) Damages;

               (b) Attorney’s fees and costs;

               (c) Such other and further relief as the

                       Court shall deem just and proper.

                  V.    DEMAND FOR JURY TRIAL

    Plaintiff demands a trial by jury as to all issues

so triable.

                              Respectfully submitted,

                              /S/PATRICK WALSH
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                              KELLEY & POLISHAN, LLC
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                              ATTORNEY FOR PLAINTIFF
                              JOAN PORT

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